Case 2:18-mj-02808-DUTY Document 5 Filed 03/18/19 Page 1 of 5 Page |D #:187
Case 2:18-mj-02808-DUTY *SEALED* Document 3-1 *SEALED* Filed 10/31/18 Page 2 of 13

 

 

Page |D #:128
AO 93 (Rev. ll/l3)Sea.rcl1 and Seizure Wa.n'ant (Page 2)
Return
Case No.: 2:18-mj-02808 Date and time warrant executed: Copy of warrant and inventory left with:

 

 

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lnventory made in the presence of : v

6{/;/5§¢\ /Qw/Miwz

 

lnventory of the property taken and name of any person(s) s`e/ized:

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age #27§502‘/

 

Certif`lcation

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 54 /g;/?

 
  

Erecutz`ng officer ’s signature

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Printed nam na' title

 

 

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